     Case: 3:22-cv-50188 Document #: 76 Filed: 09/07/22 Page 1 of 1 PageID #:189

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Western Division

Deere & Company Repair Services Antitrust
Litigation, et al.
                                                     Plaintiff,
v.                                                                Case No.:
                                                                  3:22−cv−50188
                                                                  Honorable Iain D.
                                                                  Johnston
Deere & Company
                                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 7, 2022:


       MINUTE entry before the Honorable Iain D. Johnston: In light of the notice of
voluntary dismissal [75], the claim brought by plaintiff Monty Ferrell is dismissed without
prejudice under Fed. R. Civ. P. 41(a)(1)(A)(i). Plaintiff Monty Ferrell and the member
case 22 CV 50190 are terminated. (yxp, )




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